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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/11/2022
                                                                                                    CT Log Number 540861334
TO:         Serviceof Process
            CVS Health Companies
            1 CVS DR MAIL CODE 1160
            WOONSOCKET, RI 02895-6146

RE:         Process Served in New York

FOR:        CVS Pharmacy, Inc. (Domestic State: RI)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: PENIKA ANDERSON // To: CVS Pharmacy, Inc.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 550282022
NATURE OF ACTION:                                 Product Liability Litigation - Personal Injury
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, New York, NY
DATE AND HOUR OF SERVICE:                         By Process Server on 01/11/2022 at 11:04
JURISDICTION SERVED :                             New York
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 01/11/2022, Expected Purge Date:
                                                  01/16/2022

                                                  Image SOP

                                                  Email Notification, Serviceof Process service_of_process@cvs.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  28 Liberty Street
                                                  New York, NY 10005
                                                  800-448-5350
                                                  MajorAccountTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / DC
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                                                                     Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS




Date:                         Tue, Jan 11, 2022

Server Name:                  robert piaskowy




Entity Served                 CVS PHARMACY, INC.

Case Number                   55028/2022

J urisdiction                 NY




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62494 S4
   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF WESTCHESTER

   PENIKA ANDERSON

                              Plaintiff/Petitioner,

               - against -                                     Index No.55028/2022
   CVS PHARMACY,INC. et al.

                              Defendant/Respondent.

                               .NOTICE OF ELECTRONIC FILING
                                     (Mandatory Case)
                                   (Uniform Rule § 202.5-bb)

         You have received this Notice because:

               1)The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
               New York State Courts E-fIling system ("NYSCEF"), and

               2)You are a Defendant/Respondent(a party) in this case.

        •if you are represented by an attorney:
         Give this Notice to your attorney. (Attorneys: see "Information for Attorneys" pg. 2).

        •If you are not represented by an attorney:
         You will be served with all documents in paper and you must serve and file your
         documents In paper, unless you choose to participate in e-filing.

           If you choose to participate in e-filing, you must have access to a computer and a
          scanner or other device to convert documents Into electronic format,a connection
          to the Internet, and an e-mail address to receive service of documents.

         The benefits of participating In e-filing include:

                     •serving and filing your documents electronically

                     •free access to view and print your e-filed documents

                     •limiting your number of trips to the courthouse

                    •paying any court fees on-line (credit card needed)

       To register for 0-filing or for more Information about how e-filing works:

       •visit: www.nycourts.pov/efile-unrepresented or
       •contact the Clerk's Office or Help Center at the court where the case was filed. Court
        contact Information can be found at www.nycourts.poy

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        To find legal information to help you represent yourself visit www.nvcourthelp.qov

                                   Information for Attorneys
                             (E-filing is Mandatory for Attorneys)

        An attorney representing a party who is,served with this notice must either:

              1)Immediately record his or her representation within the e-filed matter on the
              NYSCEF site www.nycourts.qov/efile ; or

              2)file the Notice of Opt-Out form with the clerk of the court where this action is
               pending and serve on all parties. Exemptions from mandatory e-filing are limited to
              attorneys who certify in good faith that they lack the computer hardware and/or
              scanner and/or Internet connection or that they lack(along with all employees subject
              to their direction) the knowledge to operate such equipment.[Section 202.5-bb(e)]

       For additional Information about electronic filing and to create a NYSCEF account, visit the
       NYSCEF website at www.nvcourts.qov/efile or contact the NYSCEF Resource Center
      (phone: 646-386-3033; e-mail: nyamfanycoutsagov).


 Dated: 01/04/2022


 Janet C. Walsh, Esq.                                 800 Third Avenue, 12th Floor
             Name                                                  Address
 Locks Law Firm PLLC
                                                      New York, NY 10022
             Firm Name

                                                      212-838-3333
                                                                 Phone

                                                      jwalsh@lockslaw.com
                                                                  E-Mail


To:   See attached Service Rider




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                                       Service Rider
                        Penika Anderson v. CVS Pharmacy,Inc., et at.


CVS Pharmacy,Inc.
CT Corporation System
28 Liberty Street
New York, NY, 10005


Helen of Troy
1 Helen ofTroy Plaza
El Paso, TX 79912


KAZ USA Inc.
1 Helen ofTroy Plaza
El Paso, TX 79912
                                Case 7:22-cv-00753-VB Document 1-1 Filed 01/28/22 Page 7 of 20
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NYSCEF DOC. NO. 1




                       SUPREME COURT OF THE STATE OF NEW YORK
                       COUNTY OF WESTCHESTER
                                                            -X                                                                                                       17°22
                                                                                                                                            Index No.: 5So21
                       PENIKA ANDERSON,                                                                                                     Date Filed:
                                                                                                                                            SUMMONS AND
                                                                                                                                            VERIFIED COMPLAINT

                                                                                      Plaintiff,                                            Plaintiffs designate
                                                                                                                                            Westchester County as
                                  -against-                                                                                                 place of trial.
                                                                                                                                            The basis of venue is
                                                                                                                                            Plaintiffs' residence.
                                                                                                                                            Plaintiffs reside in Mount
                      CVS PHARMACY,INC.,                                                                                                    Vernon, NY.
                      HELEN OF TROY,
                      KAZ USA,INC.                                                                                                         Plaintiffs demand trial by
                                                                                                                                           jury.
                                                                                     Defendants.

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                      To the above named Defendants:

                                  YOU ARE HEREBY SUMMONED,to answer this Complaint in this action and to serve a

                     copy of your answer, or, if the complaint is not served with this summons to serve a Notice of

                     Appearance, on the Plaintiffs' Attorney within 20 days after the service ofthis summons,exclusive

                     of the day of service (or within 30 days after the service is complete if this summons is not

                     personally delivered to you within the State ofNew York); and in case of your failure to appear or

                     answer,judgment will be taken against you by default for the relief demanded in the complaint.

                     Dated: New York,New York
                            January 3,2022

                                                                                                                             ca
                                                                                                                By: Janet Walsh, Esq.
                                                                                                                LOCKS LAW FIRM PLLC
                                                                                                                Attorney for Plaintiffs
                                                                                                                800 Third Avenue, 12111 Floor
                                                                                                                New York, NY 10022
                                                                                                                212-838-3333
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                                                         Service Rider
                                          Penika Anderson v. CVS Pharmacy,Inc., et RI.


                  CVS Pharmacy,Inc.
                  CT Corporation System
                  28 Liberty Street
                  New York, NY, 10005


                  Helen of Troy
                  1 Helen ofTroy Plaza
                  El Paso, TX 79912


                  KAZ USA Inc.
                  1 Helen ofTroy Plaza
                  El Paso,TX 79912




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               SUPREME COURT OF THE STATE OF NEW YORK
               COUNTY OF WESTCHESTER
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               PENIKA ANDERSON,
                                                                                                                                                      Index No.:
                                                                                                                                                      Date Filed:
                                                                                        Plaintiff,
                             -against-
                                                                                                                                                      VERIFIED COMPLAINT

               CVS PHARMACY,INC.,
               HELEN OF TROY,
               KAZ USA,INC.

                                                                                        Defendants.

                                                                                                                                     X

                             The Plaintiff, by her attorneys, LOCKS LAW FIRM PLLC, for her Verified Complaint

              against each and every Defendant alleges:

                                                                             JURISDICTION AND VENUE

                             I.            Jurisdiction is proper in this Court because Defendants, their predecessors,

             subsidiaries, agents, servants and employees, at all times pertinent in the past maintained

             headquarters and principal places ofbusiness within the State ofNew York,and/or maintained sales

             offices within the State of New York, and/or transacted business within the State of New York.

             Jurisdiction is also proper because the Plaintiff,PENIKA ANDERSON,resides in the State ofNew

             York and purchased and used Defendants' product within the State of New York,thereby causing

             her injuries in the State ofNew York.

                         2.              Venue is proper in this Court pursuant to NY CLS CPLR §503, because Plaintiff

             resides in Westchester County.




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                                                       PARTIES

                    3.    Plaintiff, Penika Anderson, is an individual who is domiciled in the State of New

           York having her residence at 159 Park Avenue, Mount Vernon, NY 10550.

                  4.      Defendant, CVS PHARMACY,INC. (hereinafter "CVS" or "Defendant"), upon

           information and belief, is a foreign corporation having its principal place ofbusiness at 1 CVS Drive,

           Woonsocket, RI 02895 which continuously, regularly and systematically conducts business in the

          State ofNew York,Defendant CVS manufactured,designed,produced,packaged,sold,distributed,

          marketed, re-labeled,supplied and/or otherwise placed into the stream ofcommerce a CVS Health

          Steam Inhaler which the Plaintiff, Penika Anderson, purchased and used, and which directly and

          proximately caused her injuries and damages,including, but not limited to,a second degree burn on

          her left breast, pain and suffering associated therewith,-and permanent scarring.

                 5.      Defendant, HELEN OF TROY. (hereinafter "HELEN" or "Defendant"), upon

          information and belief, is a foreign corporation having its principal place of business at 1 Helen of

          Troy Plaza, El Paso,TX 79912 which continuously,regularly and systematically conducts business

         in the State of New York. Defendant HELEN manufactured, designed, produced, packaged, sold,

         distributed, marketed, re-labeled, supplied and/or otherwise placed into the stream ofcommerce a

         CVS Health Steam Inhaler which the Plaintiff, Penika Anderson, purchased and used, and which

         directly and proximately caused her injuries and damages, including, but not limited to, a second

         degree burn on her left breast, pain and suffering associated therewith, and permanent scarring.
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                               6.         Defendant,KAZ USA,INC.(hereinafter"KAZ"or "Defendant"), upon information

                    and belief, is a foreign corporation having its principal place of business at 1 Helen ofTroy Plaza,El

                    Paso, TX 79912 which continuously, regularly and systematically conducts business in the State of

                    New York. Defendant KAZ manufactured, designed, produced, packaged, sold, distributed,

                    marketed, re-labeled, supplied and/or otherwise placed into the stream ofcommerce a CVS Health

                   Steam Inhaler which the Plaintiff, Penika Anderson, purchased and used, and which directly and

                   proximately caused her injuries and damages,including, but not limited to,a second degree burn on

                   her left breast, pain and suffering associated therewith, and permanent scarring.

                                                    FACTS COMMON TO ALL COUNTS

                              7.        At all times material hereto,Defendants acted through their agents,ostensible agents,

                   servants or employees, who were acting within the scope oftheir employment on the business ofthe

                   Defendants.

                          8.           The Defendants' agents and ostensible agents included their employees and other

                  persons and entities,since the Defendants are all corporations that must act through their employees

                  and others that the Plaintiff is not able to identify by name without conducting discovery.

                          9.          The Defendants are all corporations, companies or other business entities which,

                  during all times material hereto and for a time prior thereto, manufactured, produced, sold,

                  distributed, marketed and/or otherwise placed into the stream of commerce a CVS Health Steam

                  Inhaler (hereinafter "Steam Inhaler") used by Plaintiff, Penika Anderson.
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                    10.      If it is deemed that Article 16 of the CPLR applies to this action, then the Plaintiff

           asserts that this action falls within one or more ofthe exceptions set forth in CPLR 1602,including

           but not limited to, the exception for cases where a person is held liable for causing the claimant's

           injury by having acted knowingly or intentionally and in concert to cause the acts or failures upon

           which liability is based.

                  1 1.      On or about October 13,2020,Plaintiff, Penika Anderson, purchased a CVS Health

          Steam Inhaler from a CVS Pharmacy located in Mount Vernon, New York.

                  12.       On or about October 14,2020,Plaintiff,Penika Anderson,used the Steam Inhaler in a

          manner consistent with its purpose and according to accompanying instructions.

                  13.       Boiling water spilled from the Steam Inhaler and onto Plaintiff's left breast causing

          second degree burns and permanent scarring,requiring medical care and treatment and causing pain

          and suffering.

         AND AS FOR A FIRST CAUSE OF ACTION FOR NEGLIGENCE/GROSS NEGLIGENCE,
                                THE PLAINTIFF ALLEGES:

                 14.       Plaintiff hereby adopts and incorporates by reference each and every statement and

         averment contained in each ofthe foregoing paragraphs, as ifeach ofsaid paragraphs were set forth

         herein with particularity.

                15.        Plaintiff, Penika Anderson, used the Steam Inhaler in a manner consistent with the

         ordinary,foreseeable and intended use ofthe Defendants' product.




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                     16.     Defendants knew, or in the exercise of reasonable care, could and/or should have

           known that persons such as Plaintiff,Penika Anderson,would use the Steam Inhaler in the manner in

           which she did.

                    17.     Defendants knew,should and/or reasonably could have known that using the Steam

          Inhaler in the manner in which Plaintiff,Penika Anderson,used the Stem Inhaler could result in very

          hot or boiling water spilling from the Steam Inhaler and causing injury.

                    18.     Defendants knew,should and/or reasonably could have known that their product was

          inherently defective, dangerous, and otherwise highly harmful to the body and health ofPlaintiff,

          Penika Anderson, and persons similarly situated.

                    19.     Plaintiff, Penika Anderson,did not and could not know ofthe nature and extent ofthe

          danger to their bodies and health, including the ofsecond degree burns caused by using the Steam

         Inhaler.

                20.        The Defendants knew, should and/or reasonably could have known that Plaintiff,

         Penika Anderson would use the Steam Inhaler in a manner that would result in very hot or boiling

         water spilling from the product during the ordinary and foreseeable use of the product.

                21.        The Defendants knew, should and/or reasonably could have known that Plaintiff,

         Penika Anderson,did not know,understand or fully appreciate the nature and extent ofthe danger to

         her body and health, including the risk for second degree burns caused by using the product.

                22.        The Defendants had a duty to all consumers to exercise reasonable care in the

        creation, manufacturing,designing, producing,packaging, marketing,selling, warning,distributing
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           and otherwise placing the Steam Inhaler into the stream ofcommerce,including a duty to assure that

           the products did not pose a risk ofinjury.

                  23.    Defendants breached their duty and were negligent and grossly negligent because,

           knowing all ofthe above, they:

                         a.      Manufactured, produced, designed, packaged, sold, marketed, re-labeled,
                         supplied,distributed and/or otherwise placed in the stream ofcommerce products that
                         could spill very hot or boiling water that could cause bodily injury;

                         b.      Failed to take precautions to warn and/or adequately warn Plaintiff, Penika
                         Anderson that their product could spill very hot or boiling water and cause bodily
                         injury;

                         c.     Failed to take precautions to warn or adequately warn Plaintiff, Penika
                         Anderson, ofthe reasonably safe, sufficient and necessary safeguards to protect her
                         from being injured during use ofthe product;

                        d.      Failed and omitted to place any warnings or notices, or adequate and
                        sufficient warnings and notices, on the product itselfand/or on the packaging ofthe
                        product regarding the known or potential risks, dangers and harm therefrom,
                        including the potential to suffer second degree burns and scarring from the use ofthe
                        product;

                        e.     Continued to manufacture, produce, sell, market, distribute, supply and/or
                        otherwise place into the stream ofcommerce a product known to cause injury to end-
                        users;

                        f.      Failed and omitted to design and/or manufacture the product in a manner that
                        would prevent very hot or boiling water from spilling from the product and causing
                        injury to the end-user;

                        g.      Defendants knew, should and/or could have known that the failure to warn
                        and/or adequately warn ofthe risks, dangers and harm created by use ofthe product
                        would act as an inducement to Plaintiffand other end users similarly situated to use
                        the product in the manner in which Plaintiffused the product without taking adequate•
                        precaution against having very hot or boiling water coming into contact with their
                        skin and cause injury;
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                         h.     Defendants failed to take all reasonable, necessary, proper and prudent
                         measures to test their product to ensure that in the ordinary course ofuse it would not
                         cause hot water or no boiling water to spill on the end-user thereby causing injury;

                        i.     Defendants failed to test the adequacy of labels, warnings and instructions
                        appearing upon or distributed with it products;

                        j.     Defendants failed to take all reasonable, necessary, proper and prudent
                         measures to make their product safe for its intended and foreseeable use;

                        k.      Defendants failed to research,develop,design,manufacture,produce,market
                        and sell a safer alternative product, to wit a product that would prevent spills ofhot
                        water or boiling water that could cause injury to the end user;

                        I.    For these reasons,Defendants grossly deviated from the ordinary standard of
                        care.

                24.     As the direct and proximate result of the Defendants' acts and omissions, Plaintiff,

         Penika Anderson,suffered second degree burns to her left breast, which required medical treatment,

         and which caused her pain,suffering, disfigurement,deformity,impairment,mental anguish,anxiety,

         and humiliation.

                25.    As the direct and proximate result ofthe Defendants' acts and omissions, Plaintiff,

         Penika Anderson, was required to spend various sums of money for medical treatments and

         medicines, to treat her burns, and has incurred additional economic expenses and losses, which

         expenses and loses may continue to accrue.

               AND AS FOR A SECOND CAUSE OF ACTION FOR BREACH OF WARRANTY,
                                THE PLAINTIFF ALLEGES:

               26.    Plaintiff hereby adopts and incorporates by reference each and every statement and

        averment contained in each ofthe foregoing paragraphs,as ifeach ofsaid paragraphs were set forth




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           herein with particularity.

                  27.       Defendants,individually,jointly and severally expressly and/or impliedly warranted,

           including under the New York Uniform Commercial Code,to Plaintiff,Penika Anderson,and other

          end users of their product, who were similarly situated, that the product, was merchantable,

          reasonably fit and safe for its intended,stated and described purpose and application, when in fact it

          was not.

                 28.     Defendants,individually,jointly and severally breached said warranties to Plaintiff,

          Penika Anderson,in that its products was inherently defective, dangerous, unfit for use,not properly

          merchantable and not safe, as marketed,for its foreseeable use and purpose,in that it could spill very

          hot or boiling water causing burns to the end user, was defectively designed and lacked warnings,

          instructions,or adequate and sufficient warnings,instructions, as more fully set forth in counts I,and



                29.     Defendants' warranties were made in writing.

                30.     As the direct and proximate result ofthe Defendants' acts and omissions, Plaintiff,

         Penika Anderson,suffered second degree burns to her left breast, which required medical treatment,

         and which caused her pain,suffering,disfigurement,deformity,impairment,mental anguish,anxiety,

         and humiliation.

                31.     As the direct and proximate result ofthe Defendants' acts and omissions, Plaintiff,

        Penika Anderson, was required to spend various sums of money for medical treatments and

        medicines, to treat her burns, and has incurred additional economic expenses and losses, which
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                    expenses and loses may continue to accrue.

                    AND AS FOR A THIRD CAUSE OF ACTION FOR STRICT PRODUCTS LIABILITY,

                                                                THE PLAINTIFF ALLEGES:

                                   32.     Plaintiff hereby adopts and incorporates by reference each and every statement and

                    averment contained in each ofthe foregoing paragraphs, as ifeach ofsaid paragraphs were set forth

                    herein with particularity.

                                   33.    Defendants are and were, at all times material hereto, in the business of

                    manufacturing, designing, producing, packaging, selling, distributing, marketing, re-labeling,

                   supplying and/or otherwise placing the Steam Inhaler into the stream of commerce.

                                  34.     The Steam Inhaler was expected to and did reach the Plaintiff, Penika Anderson

                   without substantial change in the condition in which it was sold.

                                  35.     The Steam Inhaler was defective when it left the Defendants'possession,custody and

                   control.

                                  36.    Plaintiff, Penika Anderson and was the intended and foreseeable user of the

                   Defendants' product, and it was intended by and foreseeable to the Defendants that the products

                   would be used in the manner that the Plaintiff, Penika Anderson used it in.

                                  37.    The Defendants' Steam Inhaler was defective because:

                                         a.       It had a propensity to spill very hot or boiling water during use;

                                         b.     It lacked all elements necessary to make it safe for its intended and
                                         foreseeable use;

                                         c.      Defendants failed to take precautions to warn and/or adequately warn Plaintiff
                                         that their products could spill very hot or boiling water during use thereby causing




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                            injury;

                            d.      It lacked warnings and instructions, and or adequate warnings and
                            instructions, ofthe dangers to human health,including the nature and extent thereof,
                            that could be caused by use ofthe product;

                            e.      Defendants did not warn or adequately warn Plaintiff,Penika Anderson ofthe
                            reasonably safe,sufficient and necessary safeguards to protect herfrom being burned
                            as a result of very hot or boiling water spilling from the Steam Inhaler;

                         f.      There were no warnings or notices, or adequate and sufficient warnings and
                         notices, on the product, and/or the packaging in which the product came to protect
                         against the risk of dangers to health;

                        8.      Defendants failed to develop alternative products, including products which
                        did not contain allow very hot or boiling water to spill during use;

                        h.    Defendants' product was also defectively designed in that its hazards
                        outweighed the benefit, if any, of the products;

                        i.     Defendants' product was defective in that it failed to meet the consumer's
                        expectations for safety;

                       j.      Safer alternative designs were available for the Defendants' product,
                        including designs that prevented very hot or boiling water from spilling from the
                       product during use, yet Defendants failed to use these designs.


                38.     As the direct and proximate result ofthe Defendants' acts and omissions, Plaintiff,

         Penika Anderson,suffered second degree burns to her left breast, which required medical treatment,

         and which caused her pain,suffering,disfigurement,deformity,impairment,mental anguish,anxiety,

         and humiliation.

                39.    As the direct and proximate result ofthe Defendants' acts and omissions, Plaintiff,

        Penika Anderson, was required to spend various sums of money for medical treatments and
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           medicines, to treat her bums, and has incurred additional economic expenses and losses, which

           expenses and loses may continue to accrue.

                  WHEREFORE,Plaintiffdemand judgment against the Defendants:

                 (a)     on the FIRST CAUSE OF ACTION in an amount exceeding thejurisdictional limits

                  of all lower Courts;

                (b)      on the SECOND CAUSE OF ACTION in an amount exceeding the jurisdictional

                 limits of all lower Courts;

                (c)      on the THIRD CAUSE OF ACTION in an amount exceeding thejurisdictional limits

                 of all lower Courts;

          together with costs, interest and disbursements of this action, and for such other and further relief

         that this Court deems just and proper.

         Dated: January 3, 2022
                New York, New York
                                                                                  tt-cLA-dv •
                                                              By: Janet Walsh, Esq.
                                                              LOCKS LAW FIRM PLLC
                                                              Attorney for Plaintiffs
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                                                              New York, NY 10022
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                                          ATTORNEY'S VERIFICATION


                         The undersigned, an attorney admitted to practice in the Courts ofthe State ofNew

           York,shows that:

                         Affirmant is associated with the attorney ofrecord for plaintiffs in the within action;

          affirmant has read the foregoing VERIFIED COMPLAINT and knows the contents thereofto be true

          to affirmant's own knowledge, except as to the matters therein stated to be alleged on information

          and belief, and that as to those matters, affirmant believes those matters to be true.

                         The grounds ofaffirmant's beliefas to all matters not stated upon her knowledge are

          based upon information contained in the file maintained in affirmant's office.

                        This verification is made by affirmant and not by the plaintiffs because the plaintiffs

          reside outside the county wherein affirmant maintains her office.

                        The undersigned affirms that the foregoing statements are true, under the penalties of

         perjury.

         Dated: New York,New York
                January 3,2022




                                                           C          nc   Oidgk
                                                                    JANE WALSH,ESQ.




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